                                                                                                                           United States Bankruptcy Court
                                                                                                                             Eastern District of Michigan

                                                                     IN RE:                                                                                              Case No.
                                                                     Lewis, Angela Sword & Lewis, Thomas K.                                                              Chapter 7
                                                                                                                    Debtor(s)

                                                                                                                 BANKRUPTCY PETITION COVER SHEET
                                                                     (The debtor must complete and file this form with the petition in every bankruptcy case. Instead of filling in the boxes on the petition
                                                                     requiring information on prior and pending cases, the debtor may refer to this form.)
                                                                                                                                          Part 1
                                                                     “Companion cases,” as defined in LBR 1071-1(c), are cases involving any of the following: (1) The same debtor; (2) A corporation and
                                                                     any majority shareholder thereof; (3) Affiliated corporations; (4) A partnership and any of its general partners; (5) An individual and his
                                                                     or her general partner; (6) An individual and his or her spouse; or (7) Individuals or entities with any substantial identity of financial interest
                                                                     or assets.

                                                                     Has a “companion case” to this case ever been filed at any time in this district or any other district? Yes No             ü
                                                                     (If yes, complete Part 2.)
                                                                                                                                      Part 2
                                                                     For each companion case, state in chronological order of cases: (Attach supplemental sheets if necessary.)

                                                                                                       First Case                            Second Case                           Third Case
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                                                                     Name on Petition
                                                                     Relationship to this case
                                                                     Case number
                                                                     Chapter
                                                                     Date filed
                                                                     District
                                                                     Division
                                                                     Judge
                                                                     Status/Disposition
                                                                     (Pending, confirmed & still open, confirmed & closed, dismissed before/after confirmation, discharged, etc.)

                                                                     If the present case is a Chapter 13 case, state for each companion case:

                                                                     Attorney
                                                                     Legal fee
                                                                     Proposed legal fee in this case: $
                                                                     Changes in circumstances which lead the debtor to reasonably believe that the current plan will be successful.


                                                                                                                            Part 3 - In a Chapter 13 Case Only
                                                                     The Debtor(s) certify, re: 11 U.S.C. § 1328(f):
                                                                     [indicate which]
                                                                        Debtor(s) received a discharge issued in a case filed under Chapter 7, 11, or 12 during the 4-years before filing this case.
                                                                        Debtor(s) did not receive a discharge issued in a case filed under Chapter 7, 11, or 12 during the 4-years before filing this case.
                                                                        Debtor(s) received a discharge in a Chapter 13 case filed during the 2-years before filing this case.
                                                                        Debtor(s) did not receive a discharge in a Chapter 13 case filed during the 2-years before filing this case.

                                                                     I declare under penalty of perjury that I have read this form and that it is true and correct to the best of my information and belief.



                                                                     /s/ Angela Sword Lewis                             /s/ Thomas K. Lewis                             /s/ Dale L. Smith
                                                                     Debtor                                             Debtor                                     Dale L. Smith P56522
                                                                                                                                                                   Dale L. Smith, P.C.
                                                                     Date: February 14, 2011                                                                       1893 West Maumee Street
                                                                                                                                                                   Adrian, MI 49221
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